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                         UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

UNITED STATES OF AMERICA                           :       CASE NO. 2:16-74

              Plaintiff,                           :

       vs.                                         :       JUDGE SMITH

GAVINO ESCAMILLA-GARCIA, ET AL.,                   :

              Defendant.


                           MOTION TO SUPPRESS STATEMENTS

       Now comes Defendant Gavino Escamilla-Garcia, by and through counsel, and

respectfully moves the Court for an Order suppressing any and all oral statements allegedly made

by Defendant to law enforcement officers including but not limited to statements allegedly made

on March 15, 2016. Escamilla-Garcia further requests that the Court conduct an evidentiary

hearing on this Motion. A Memorandum in Support is below.

                                            Respectfully submitted,

                                            GOLDEN & MEIZLISH CO., LPA

                                            By:     s/ Keith E. Golden
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                                            Trial Counsel for Defendant
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                               MEMORANDUM IN SUPPORT

       On or about March 15, 2016, agents of the Central Ohio HIDTA Drug Task Force or the

U.S. Immigration and Customs Enforcement Agency, or both, purportedly obtained statements

from Defendant Gavino Escamilla-Garcia while he was in custody. Escamilla-Garcia was not

advised of his Fifth Amendment rights to remain silent or right to counsel, nor was he offered to

review and/or sign a waiver of his rights, before he purportedly made these statements.

Accordingly, Escamilla-Garcia did not knowingly, intelligently and voluntarily waive his rights.

See United States v. Ray, 803 F.3d 244, 265 (6th Cir. 2015) (explaining that any waiver of one’s

Miranda rights bust have been done “voluntarily, knowingly, and intelligently”) (internal

quotation marks omitted).

       The statements attributed to Escamilla-Garcia may have been used to obtain the

Indictment, and the Government most likely will attempt to submit at trial. Because any such

statements were made in violation of the Defendant’s Fifth Amendment rights, the Court should

suppress those statements.     See id. (“A statement made in response to custodial police

interrogation must be suppressed unless the suspect first waived his Miranda rights voluntarily,

knowingly, and intelligently.”) (internal quotation marks omitted).

       Defendant hereby requests an evidentiary hearing as to this matter.



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          WHEREFORE, Defendant Gavino Escamilla-Garcia respectfully requests that the Court

grant this Motion.

                                                Respectfully submitted,

                                                GOLDEN & MEIZLISH CO., LPA
                                                By:     s/ Keith E. Golden
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                                   CERTIFICATE OF SERVICE

          I do hereby certify that a true copy of the foregoing pleading was sent this 21st day of

April 2016 via the Court’s CM/ECF systems to all counsel of record.


                                                Porter, Wright, Morris & Arthur LLP


                                                By:       s/Bryan R. Faller_________
                                                Bryan R. Faller (Ohio Reg #0072474)
                                                Co- Counsel for Defendant



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